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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION

   TINA NELSON, individually and on              )
   behalf of a class of similarly situated       )
   individuals,                                  )    Case No. 2:19-cv-02712
                                                 )
                          Plaintiff,             )    Hon. Thomas L. Parker
                                                 )
                   v.                            )    Magistrate Hon. Charmiane G. Claxton
                                                 )
   FORD MOTOR CO., a Delaware                    )
   corporation,                                  )
                                                 )
                          Defendant.             )

                                 NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN pursuant to Local Rule 83.13(a) that Plaintiff's claims in

this matter pending against Ford Motor Co. ("Defendant") have been resolved to the satisfaction

of Plaintiff and Defendant. Pursuant to Local Rule 83.13(b), it is respectfully requested that the

Court direct the Clerk to remove any upcoming deadlines and dates for this matter from its calendar

and that the Court provide Plaintiff and Defendant with twenty-eight (28) days with which to

complete their settlement and file a Stipulation of Dismissal pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii).

Dated: March 2, 2021                                 Respectfully submitted,

                                                     MCGUIRE LAW, P.C.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2021 a copy of the foregoing Notice of Settlement was

served upon the below counsel of record for Defendant Ford Motor Co. by operation of the Court’s

electronic case filing system:

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